                                                                   Case 2:23-cv-10513-LJM-KGA ECF No. 50, PageID.3031 Filed 10/07/24 Page 1 of 2




                                                                                        UNITED STATES DISTRICT COURT
                                                                                        EASTERN DISTRICT OF MICHIGAN
                                                                                             SOUTHERN DIVISION

                                                                   DANIEL REIFF,                               Case No. 23-cv-10513-LJM-KGA
                                                                                                               Hon. Laurie J. Michelson
                                                                          Plaintiff,                           Mag. Judge Kimberly G. Altman

                                                                   vs.

                                                                   OFFICER BROC SETTY, in his individual
                                                                   capacity and CLINTON TOWNSHIP,

                                                                          Defendants.
                                                                   _____________________________________________________________________________/
K I R K , H U T H , L A N G E & BA DA L A M E N T I , P. L . C .




                                                                            INDEX OF MEDIA EXHIBITS IN SUPPORT OF DEFENDANTS
                                                                         CLINTON TOWNSHIP AND OFFICER BROC SETTYS’ SECOND
                                                                         AMENDED MOTION FOR SUMMARY JUDGMENT [ECF No. 46]
                                                                          NOW COME Defendants Clinton Township and Clinton Township Officer

                                                                   Broc Setty (collectively hereinafter “Defendants”), by and through their attorneys,

                                                                   Kirk, Huth, Lange & Badalamenti, PLC and Peacock Law, P.C., and in support of

                                                                   their Motion for Summary Judgment [ECF No. 46], upload the following media

                                                                   exhibits under ECF Rule 19(c) pursuant to leave granted at ECF No.43:


                                                                          Exhibit F – Dispatch Audio (wav file), cited at ECF No.46 PageID.1883,
                                                                          1890.

                                                                          Exhibit G – Video Recording of Ofc. Hackstock Body Worn Camera (mp4
                                                                          file), cited at ECF No.46 PageID.1883, timestamp 00:01-10, PageID.1884,
                                                                          timestamp 00:10-23, 00:30-34, 00:40-05:30, PageID.1890, timestamp 00:01-
                                                                          00:34.




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                                                                         Exhibit H – Video Recording of Ofc. Setty Body Worn Camera (mp4 file),
                                                                         cited at ECF No.46 PageID.1884, timestamp 03:43-04:16, PageID.1885,
                                                                         timestamp 04:13-33, PageID.1886, timestamp 04:33-06:10, 08:10-09:20,
                                                                         PageID.1891, timestamp 04:19-24, PageID.1892, timestamp 04:17-45,
                                                                         PageID.1893, timestamp 04:17-45, PageID.1895, timestamp 04:17-45,
                                                                         04:31-33.


                                                                                                    Respectfully submitted,

                                                                                                    KIRK, HUTH, LANGE & BADALAMENTI, PLC

                                                                                                    s/Raechel M. Badalamenti
                                                                                                    RAECHEL M. BADALAMENTI (P64361)
                                                                                                    Email: rbadalamenti@kirkhuthlaw.com
K I R K , H U T H , L A N G E & BA DA L A M E N T I , P. L . C .




                                                                                                    Attorneys for Defendants
                                                                                                    19500 Hall Road, Suite 100
                                                                                                    Clinton Township, MI 48038
                                                                   Dated: October 7, 2024           (586) 412-4900




                                                                                             CERTIFICATE OF SERVICE

                                                                   I hereby certify that on October 7, 2024, I electronically filed the foregoing paper
                                                                   with the Clerk of the Court using the ECF system which will send notification of
                                                                   such filing to all ECF participants in this case. I hereby certify that I have mailed by
                                                                   United States Postal Service the paper to the following non-ECF participants: None.


                                                                                                    s/Raechel M. Badalamenti
                                                                                                    RAECHEL M. BADALAMENTI (P64361)




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